          Case 5:16-cr-50041-TLB                      Document 49          Filed 05/10/17          Page 1 of 6 PageID #: 279
AO 2458 (Rev. 11 16)   Judgment in a Crim inal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                         Western Distri ct of Arkansas
                                                       )
             UNIT ED STAT ES OF AM ERICA               )      JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                                                       )      Case umber:           5: 16C R5 0041-002
           FER ANDO BARRAZA-Q UINT ERO                 )      U SM umber:           143 59-010
                                                       )
                                                       )      Victoria Hargis Bruton
                                                       )      Defendant "s Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)         One ( 1) of the Indictment on January 6, 201 7.

D pleaded no lo contendere to count(s)
  whi ch was accepted by the court.
D was fo und guilty on count(s)
  after a plea of not guilty.

T he defendant is adj udicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended               Count
2 1 U.S.C. ~~ 841(a)(l)           Conspiracy to Di stribute Methamphetamine                                  07/26/201 6                 1
and 846




       The defendant is entenced as provided in pages 2 through                 6        of this j udgment. The sentence is imposed pursuant to
the Sentenc ing Reform Ac t of 1984.
D T he defendant has been fo und not guilty on count(s)

~ Count(s)      Forfe iture All egation                  ~ is      D are dismissed on the motion of the United States.

           ft is ordered that the defendant mu st noti fy the United States attorney fo r this di strict within 30 days of any change of name,
residence, or ma iling address until all fines, restitution, cost , and spec ia l assessments imposed by this j udgment are full y paid. If ordered to
pay rest ituti on, the defendant must noti fy the court and United States attorney o f ma rial changes in economic · umstances.

                                                                         May 8, 20 17




                                                                         Honorable Timoth y L. Broo ks, United Sta tes Di strict Judge
                                                                          amc and Titl e orJudge
           Case 5:16-cr-50041-TLB                    Document 49            Filed 05/10/17           Page 2 of 6 PageID #: 280
AO 2458 ( Rev. 11 / 16) Judgment in Crimina l Case
                        Sheet 2 - Imprisonm ent

                                                                                                          Judgment -   Page   2    of    6
 D EFEND ANT:                     FERNANDO BARRAZA-QUINTERO
 CASE NUMBER:                     5: I 6CR5004 l-002

                                                               IMPRISONMENT

          The defendant is hereby co mmitted to the custody of the Federal Bureau of Prisons to be impri soned for a
 total term of:     forty-five (45) month s.




     cg]    T he court makes the fo llowing recommendations to the B ureau of Prisons:
            Exa mine all of the fac ilities in the defend ant ' class ification leve l in order to all ow the defendant to co ntinue co ll ege-
            leve l education and c lasses.



     cg] T he defendant is remanded to the custody of the United States Marshal.

     D T he defendant shall s urrender to the United States Mar ha l for thi district:
       D at                                   D a .m. Dp.m. on
       D as notified by the Un ited States Marshal.
     D The defendant sha ll surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
       D before 2 p.m. on
       D as notified by the United Sta tes Marshal.
            D as notified by the Pro bation or Pretrial Services Office.
                                                                     RETURN
I have exec uted this judgment as fo llows:




           Defendant deli vered on                                                           to

at                                                    , wi th a certified copy of thi s judgment.




                                                                                                        NITED STATES MARSHAL



                                                                             By
                                                                                                    DEPUTY U ITED STATES MARSHAL
           Case 5:16-cr-50041-TLB                       Document 49       Filed 05/10/17           Page 3 of 6 PageID #: 281
AO 2458 ( Rev. 11 11 6) Judgmen t in a Cri minal Case
                        Sheet 3 - Supervised Release

                                                                                                             J uclgment- Page   3    or         6
 D FENDA T:                     FERNANDO BARRAZA-QUINTERO
 C SE NUMBER:                   5: l 6CR5004 l -002

                                                           SUPERVISED RELEASE
 Upon re lease from imprisonment, yo u wi ll be on supervised release for a term of:       three (3) years.
 It is anti c ipated that the defendant wil l be deported by immigration authorit ies following hi s term o f imprisonment. According ly, if the
 defendant leaves the United States by way of deportation or otherwise after completion of hi s term and imprisonment, and after such
 departure, aga in reenters the Un ited States illega ll y, he wi ll then be in immediate vio lation of a condition of supervised release. If, prior to
 any deportation, the defendant is released on bond by ICE , or if after deportation, the defendant returns to the United States lega ll y, he shall
 report to the nearest United States Probation Office within 72 hours of such release, or return. Based on these circumstances, the mandato ry
 drug testing provisions of 18 U.S.C. § 3583(d) are hereby waived.


                                                         MANDATORY CONDITIONS

 1.    You must not commit another federa l, state or loca l crime.
 2.    You must not un lawfully possess a controlled substance.
 3.    You must refrain from any unlawful use ofa contro lled sub tance. You must submit to one drug test within 15 days of re lease from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ~ The above drug testing cond ition is suspended , based on the coun's detem1ination that yo u
                  pose a low ri sk of future substance abu e. (check if applicable)
 4.     ~ Yo u must cooperate in the co llection of D A as directed by the probation officer. (check if applicable)
 5.     D    Yo u must co mpl y with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 1690 1, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any sta te sex offender regi tration agency in the location where yo u
            reside, work, are a student, or were convicted of a qua lifying offense. (c/1eck if applicable)
 6.     D   You must panicipate in an approved program for domestic violence. (check if applicable)



You must comp ly with the standard conditions that have been adopted by this court as well as with any other cond itions on the attached
page.
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AO 2458 ( Rev. 11 16)   Judgment in a Crimina l Case
                        Sheet 3A - Superv ised Release

                                                                                                   Judgment- Page        4        of          6
DEFE D  T:                      FERN ANDO BARRAZA-QUINTERO
CASE NUMBER:                    5: I 6CR5004 I -002

                                        STANDARD CONDITIONS OF SUPERVISION
As part of yo ur superv ised release, yo u must co mpl y with the fo ll owing standa rd conditions of supervi ion. These conditi ons are imposed
because they establish the basic expectations fo r your behavior while on supervision and identi fy the minimum too ls needed by probation
officer to keep infom1ed, report to the court about, and bring about improvements in yo ur conduct and condition.

 I.   Yo u must report to the probation office in the federa l judicia l di strict where yo u are authorized to reside within 72 hours of yo ur
      release from imprisonment, unless the probation o ffi cer in structs yo u to report to a different probation office or wi thin a different
      time frame.
2.   After initi all y reporting to the probation office, yo u will receive instructions from the court or the probation officer abo ut how and
     when you must report to the probat ion offi cer, and yo u must report to the probation officer as instructed.
3.   You must not knowing ly leave the federa l judicial distri ct where yo u are authorized to reside without first getting permission from
     the co urt or the probation o ffi cer.
4 . You must answer truthfull y the questions asked by yo ur probation officer.
5.   You must live at a place approved by the probation officer. If yo u plan to change where yo u live or anyth ing abo ut yo ur li ving
     arrange ment (such as the people yo u li ve with), yo u must notify the pro bation officer at lea t I 0 days before the change. If notify ing
     the probation officer in adva nce is not possible due to unanticipated circumstances, yo u must notify the probation officer within 72
     hours of beco ming awa re of a change or expec ted change.
6.   You must allow the probation officer to visit yo u at any time at yo ur ho me or elsewhere, and yo u must permit the probation officer to
     take any items prohibited by the condi tions of yo ur superv ision that he or she observes in plain view.
7.   You must wo rk full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If yo u do not have full-time empl oyment yo u must try to find full-time employment, unless the probation officer excuses
     yo u from do ing so. If you plan to change where yo u wo rk or anything about yo ur work (such as yo ur position or your j ob
     responsibiliti es), yo u must notify the probation officer at least I 0 days before the change. If notify ing the probation offi cer at least I 0
     days in advance is not poss ibl e due to unanticipated circumstances, yo u must notify the probation offi cer within 72 hours of
     becom ing awa re of a change or expected change.
8.   Yo u must not communica te or interact with someone yo u know is engaged in criminal activity. If yo u know someone has been
     convicted of a fe lony, yo u must not knowing ly co mmunicate or interact with that person without first getting the permission of the
     probation officer.
9.   If yo u are arrested or questioned by a law enforceme nt officer, yo u must notify the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, amm uni tio n, destructi ve device, or dangerous wea pon (i.e. , anything that
     was designed, or was mod ifi ed for, the pec ific purpose of causing bod il y injury or death to another person such as nunchakus or
     tasers).
11 . You must not ac t or make any agreement with a law enforcement age ncy to act as a confidential human source or informa nt without
     first getting the permiss ion of the court.
12. If the probation officer determines that yo u pose a ri k to another person (including an organiza tion), the probation officer may
     require yo u to notify the person about the ri k and you must compl y with that instruction. The pro bation officer may contac t the
     person and confinn that yo u have notified the person about the risk.
13. Yo u must fo llow the instructions of the probation offi cer related to the cond itions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions spec ified by the court and has provided me with a written copy of thi s
judgment containing these condi tions. For furth er info rmation regarding these conditions, see Ove1view of Probation and Supervised
Release Conditions , ava il able at: www. uscourts.gov.


Defendant's Signature                                                                                        Date
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AO 2458 (Rev. 11 /16)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalti es

                                                                                                           Judgment -   Page       5    of         6
 D EFENDANT:                         FERNANDO BARRAZA-QUINTERO
 C SE NUMB R:                        5 : J6CR5 004 l -002

                                                 CRIMINAL MONETARY PENALTIES
      The defenda nt must pay the to tal criminal mo ne tary pe nalties unde r the sc hedule o f payme nts o n Sheet 6.

                      Assessment                      JVT A Assessment'''            Fine                        Res ti tu ti on
 TOTALS             $ 100.00                      $ -0-                            $ -0-                       $ -0-


0 T he dete m1inatio n o f restituti o n is deferred until                  . An Amended Judgment in a Criminal Case (A O 245C) w ill be entered
     afte r suc h determination.

0 T he defendant must make restitutio n (incl uding co mmunity restitution) to the fo llowing payees in the amount listed below.
     lf the defendant makes a partial payment, each payee shall rece ive an approx imately proporti oned payment, unless spec ified otherw ise in
     the prio rity order o r percentage payment co lumn below. However, pursuant to 18 U .S.C. ~ 3664(i) , a ll no nfederal victims must be pa id
     before the United Sta tes is paid .

 Name of Pa ee                                  Total Loss 1"''                     Restitution Ordered                        Priorit or Percenta e




 TOTALS                                 $                                      $

0 Restitutio n amo unt o rdered pursua nt to plea ag reement $
0 The defendant must pay interest on restituti on and a fin e of mo re than $2 ,500, unless the restitutio n o r fin e is paid in full before the
     fifteenth day a fter the da te of the judgme nt, purs ua nt to 18 U. .C. ~ 36 l 2( f) . A ll o f the payment optio ns o n Sheet 6 may be subj ect
     to pe nalties fo r delinquency and default, pursua nt to 18 U.S.C. ~ 36 l 2(g).

0 The court de te rmined that the defendant does no t have the ability to pay interest and it is o rdered tha t:
  0 the interest require ment is wa ived for the 0 fin e 0 restitution.
     0     the inte rest requirement fo r the      0      fin e   0  restitution is modifi ed as fo llow :
* Justi ce fo r V ictims o fTraffi c king Ac t of20 15 , Pub. L. No. 114-22.
** Findings fo r the to tal amo unt o f losses are required unde r Chapters l 09A, 11 0, 11 OA, and l l 3A of Title 18 fo r offenses co mmitted on o r
after Septe mbe r 13, 1994 , but before April 23 , 1996.
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AO 245 8 (Rev. 11 16)
                   Judgment in a Criminal Case
                   Sheet 6 - Schedul e or Payments

                                                                                                                          Judgment -   Page       6      or            6
  DEFE DANT:                    FER ANDO BARRAZA-QUINTERO
  CASE NUMBER:                  5:16CR50041-002

                                                            SCHEDULE OF PAYMENTS

  Hav ing assessed th e defe ndant ' s ab ili ty to pay, payment of the tota l crimin al monetary penalti es is du e as fo ll ows :

  A     ~ Lump sum payment of $                100.00                 due immediately, balance due

             D      not later than                                          , or
             ~ in acco rdance with D               C,     D      0,     D      E, or    ~ F be low; or

  B     D     Payment to begin immediate ly (ma y be combined with                   D e,          DD, or        D F below) ; or
  C     D     Paym ent in equa l                         (e.g. . 11 ·eekly. monthly . quarterly) insta llments of $                               over a period of
                            (e.g. . mo11t!ts or years), to commence                              (e.g. . 30 or 60 days) a fter the date of thi s judgment; or

  D     D    Payment in equa l                            (e.g. . il'eekly . 111011t!tly. quarterly) installments of                                over a period of
                          (e.g. . 111011t!ts or years) , to commence                                 (e.g. . 30 or 60 days) after re lease fro m imprisonment to a
             tem1 of supervision; or

  E     D     Payment during the term of supervi sed release will commence within                   (e.g.. 30 or 60 days) after release fro m
              impri sonm ent. The cou11 will set the payment plan based on an assess ment of the defendant ' s ability to pay at that time; or

  F     ~ Spec ial instructions regarding the payment of criminal monetary penalties:
              If not pa id immediate ly, any unpaid financ ia l penalty hall be paid by the defendant during his tem1 of impri sonment at a ra te of
              up to 50% of the defe ndant' s avail able fund s, in accordance w ith the Inmate Financ ial Responsibili ty Program.




  Unless the court has express ly ordered otherwise, if this judgment imposes imprisonment, payment o f criminal monetary pena lties is due
  during the period o f impri sonment. All criminal monetary pena lties, except those payments made throug h the Federa l Bureau of Pri sons '
  Inmate Financial Responsibil ity P rogram, are made to the clerk of the court.

  The defendant shall rece ive credit fo r all payments previously made toward any criminal monetary penalties imposed.



  D     Jo int and Several

        Defendant and Co-De fendant Names and Case                 umbers (i11cluding def e11dant 11umber), Total A mount, Joint and Several Amount,
        and corresponding payee, if appropriate.




  D     The defendant shall pay the cost of prosecuti on.

  D     The defendant shall pay the fo llowing court cost(s):

  D     The defendant shall forfe it the defendant ' s interest in the fo ll owing property to the United State :

        Payments hall be app lied in the fo llowing order: ( I) assess ment, (2 ) restitution principal , (3) restitution intere t. (4) fine principal, (5)
        fine interest, (6) community restitution, (7) JVT A assess ment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
